                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NORBERTO RODRIGUEZ,

                           Plaintiff,
 v.                                                  2016-cv-10560
                                                     Judge Robert M. Dow, Jr.
 OFFICER VARGAS #14862, an Individual,
 OFFICER VELASQUEZ #15025, an
 Individual, COOK COUNTY SHERIFF’S
 OFFICE, and COUNTY OF COOK,

                          Defendants.


                         FIRST AMENDED COMPLAINT AT LAW

       Plaintiff, NORBERTO RODRIGUEZ, by and through his attorney, KAREN MUNOZ,

and pursuant to Rule 15 of the Federal Rules of Civil Procedure, files this Amended Complaint,

alleging as follows:

                                        INTRODUCTION

       This is an action for a constitutional violation, which resulted in personal injuries suffered

by Plaintiff Norberto Rodriguez while he was in the custody of the Cook County Sheriff.

Plaintiff brings this action for damages under 42 U.S.C. §1983.

                                JURISDICTION AND VENUE

       1.      This civil action is brought pursuant to the laws of the United States Constitution,

specifically 42 U.S.C. §1983, 1988, and the Fourteenth Amendment to the United States

Constitution. This Court has jurisdiction over Plaintiff’s claims under 28 U.S.C. §1331 and 28

U.S.C. §1343(3).

       2.      The Northern District of Illinois is an appropriate venue under 28 U.S.C.

§1391(b)(2) because it is where the events giving rise to this Complaint occurred.

                                                 1
                                           PLAINTIFF

       3.      Plaintiff NORBERTO RODRIGUEZ is and was at all times a resident of the State

of Illinois. On or about June 28, 2016, Plaintiff was a pre-trial detainee in the custody of the

Cook County Sheriff’s Office in Chicago, Illinois.

                                          DEFENDANTS

       4.      At all times relevant, Defendant OFFICER VARGA #14862 was acting under his

authority as a correctional officer of the Cook County Sheriff’s Office. Plaintiff sues Officer

Vargas in his individual capacity.

       5.      At all times relevant, Defendant OFFICER VELASQUEZ #15025 was acting

under his authority as a correctional of the Cook County Sheriff’s Office. Plaintiff sues Officer

Velasquez in his individual capacity.

       6.      Defendant COOK COUNTY SHERIFF’S OFFICE is the employer of Defendants

Varga and Velasquez and is joined in its official capacity.

       7.      Defendant COUNTY OF COOK is a local governmental entity in the State of

Illinois and is responsible for the funding and oversight of the Cook County Sheriff’s Office.

Cook County is a properly named defendant for indemnification purposes.

                                     STATEMENT OF FACTS

       8.      On June 28, 2016, at approximately 8:15 am, Plaintiff Rodriguez was scheduled

for a status hearing at the Cook County 6th Municipal District Courthouse in Markham, Illinois.

       9.      Plaintiff Rodriguez was being transported from the Cook County Jail by officers

from the Cook County Sheriff’s Office on a Cook County Department of Corrections bus to the

Cook County 6th Municipal District Courthouse.




                                                  2
       10.     Upon information and belief, in Cook County there is a policy to handcuff

detainees right wrist to right wrist in couples during transport to and from court. Detainees are

handcuffed prior to being placed on the bus for seating.

       11.     On June 28, 2016, pretrial detainees were being transported on a bus for court

hearings scheduled for that day.

       12.     Plaintiff was to be handcuffed to an agitated and hostile detainee, Nikita Young.

       13.     Nikita Young told Plaintiff to request another detainee to be handcuffed to during

transport as there was going to be a fight between Young and other detainees.

       14.     Plaintiff immediately alerted Defendant Varga about the fights Detainee Young

had notified him of prior to getting on the bus and requested that he be handcuffed to another

detainee.

       15.     Defendant Vargas refused his request and allowed him to remain handcuffed to

Young, a hostile detainee.

       16.     Plaintiff again requested that he be handcuffed to another detainee because he was

afraid for his safety, this time directing the request to Defendant Velasquez, the driver of the bus.

His request was refused.

       17.     Very shortly into the transport, rising hostilities between Young and other

detainees turned to violence.

       18.     As Plaintiff was still handcuffed to Young, he was violently tugged into the midst

of a fight between Young and other detainees. Being handcuffed to the detainee, Plaintiff was

caught in the middle of violent swinging, kicking, and punching. Unable to break free of the

violent melee, Plaintiff sustained serious and painful injuries to his head, arms, hand, and wrist,

primarily on the side of which he was handcuffed.



                                                  3
        19.     During these riots, other inmates on the bus rose from their seats and began to

fight throughout the bus and escalated the violent altercation to an even greater level of danger.

        20.     Defendants Varga and Velasquez refused to intervene as the fights broke out

throughout the bus.

        21.     The bus never arrived at the Markham Courthouse, but was instead directed to be

diverted to the police station and courthouse located on 51st and Wentworth Ave. Plaintiff

remained handcuffed to Detainee Young until they arrived at 51st and Wentworth. From there

Plaintiff had to be transported back to Cook County Jail, where he was rushed to Cermak Health

Services for medical treatment. Among the injuries Plaintiff sustained were a painfully sprained

wrist and arm, severe swelling of his head, and open lacerations on his wrist and upper arm from

the handcuffs digging into his skin as his arm was being violently yanked during the altercation.

Had Plaintiff been removed from what was clearly a situation of impending violence, as he so

pleaded with both Defendant Officers, his substantial injuries could have been avoided.

                           EXHAUSTION OF LEGAL REMEDIES

        22.     Plaintiff utilized the inmate grievance procedure at Cook County Jail. On July 1,

2016, Plaintiff presented the facts related to this Complaint. On July 21, 2016, Plaintiff was sent

a response saying the grievance had been denied. On July 26, 2016, he appealed the decision of

the grievance. Plaintiff has exhausted his administrative remedies.

                                          COUNT I
                              Rodriguez v. Vargas and Velasquez
                                       42 U.S.C. §1983
                                     Failure to Intervene

        23.     Plaintiff incorporates and realleges by reference the above paragraphs as though

fully set forth herein.




                                                 4
       24.     At all times relevant, Plaintiff was protected under the Fourteenth Amendment to

the United States Constitution.

       25.     Under the Due Process Clause of the Fourteenth Amendment, Defendant Officers

had a duty to intervene and protect Plaintiff from the violent assaults at the hands of fellow

detainees on the bus.

       26.     At all times relevant, the Defendant Officers were aware that Detainee Nikita

Young and other detainees on the bus presented a substantial risk of harm to Plaintiff’s safety.

       27.     On June 28, 2016, Plaintiff was deprived of his rights under the Fourteenth

Amendment in the following ways by Defendants Vargas and Velasquez:

               a. Failed to take the appropriate steps to protect Plaintiff from the foreseeable
                  harm of being handcuffed to a detainee who had voiced his intentions to fight
                  other inmates;
               b. Disregarded the risks posed to Plaintiff’s safety;
               c. Were deliberately indifferent to the known risks of being handcuffed to a
                  detainee engaged in fighting with other detainees on the bus;
               d. Failed to intervene after the altercation between Nikita Young and the other
                  detainees began; and
               e. Failed to prevent the violation of Plaintiff’s constitution rights as set forth
                  above.
       28.     As a result of the conduct of Defendants Vargas and Velasquez, Plaintiff suffered

injuries, including bodily harm, pain, and suffering.

       WHEREFORE, pursuant to 42 U.S.C. §1983, Plaintiff demands judgment against

Defendants for any damages available to him under the law, plus the costs on this action and

attorney’s fees and such other and additional relief as this Court deems equitable and just.

                                         COUNT II
                          Rodriguez v. Cook County Sheriff’s Office
                                       42 U.S.C §1983
                                        Monell Claim



                                                  5
        29.     The officer misconduct described above was undertaken due to a widespread

policy by the Cook County Sheriff’s Office in which officers are not adequately trained in how

to respond, intervene, prevent, or breakup inmate attacks during transportation trips, and thereby

is deliberately indifferent to the safety of inmates who are the foreseeable victims of such attacks

and who are not protected from assault or continued assault.

        30.     That the Cook County Sheriff’s Office has been aware that detainees are assaulted

while being transported by bus to and from court appearances.

        31.     That the Cook County Sheriff’s Office was placed on notice of the policy when a

detainee was assaulted in a manner similar to Plaintiff in the case of Howard v. Sheriff of Cook

County, et al., 15-cv-9384.

        32.     That the Cook County Sheriff’s Office has also been aware that officers do not

know how to respond when a detainee is being beaten while being transported by bus to and

from court appearances and that the officers would watch the assaults and refuse to intervene.

        33.     That Plaintiff’s injuries were caused by the foregoing polices and practices of the

Cook County Sheriff’s Office.

        WHEREFORE, pursuant to 42 U.S.C. §1983, Plaintiff demands judgment against

Defendants for any damages available to him under the law, plus the costs on this action and

attorney’s fees and such other and additional relief as this Court deems equitable and just.

                                          COUNT III
                                  Rodriguez v. County of Cook
                                        Indemnification

        34.     Plaintiff incorporates and realleges by reference the above paragraphs as though

fully set forth herein.




                                                 6
       35.     Pursuant to 745 ILCS 10/9-102, the County of Cook, is a local public entity in

Illinois empowered and directed to pay any tort judgment or settlement for compensatory

damages (and may pay any associated attorney’s fees and costs) for which it or an employee

while acting within the scope of his employment is found liable.

       36.     The acts and/or omissions of the individual defendants and each of them were

committed within the scope of their employment.

       37.     In the event that a judgment for compensatory damages is entered against the

individual defendants and/or any of them, the County of Cook must pay the judgement and may

pay any associated attorney’s fees and costs.

                                       JURY DEMANDED

       Plaintiff demands a jury to try all issues in this matter.

                                          CONCLUSION

       WHEREFORE, Plaintiff NORBERTO RODRIGUEZ prays for judgment in her favor and

against Defendants OFFICER VARGAS #14862, an Individual, OFFICER VELASQUEZ

#15025, an Individual, COOK COUNTY SHERIFF’S OFFICE, and COUNTY OF COOK in an

amount in excess of the jurisdictional minimum and for such other and further relief as this Court

deems fair and just.

                                                       Respectfully submitted,

                                                              /s/ Karen Munoz
                                                       One Plaintiff’s Attorneys
Karen Munoz, Esq.
Dolan Law Offices, P.C.
10 South LaSalle Street
Suite 3702
Chicago, Illinois 60603
(312) 676-7600
(312) 849-2030 Facsimile
kmunozp@dolanlegal.com

                                                  7
                               CERTIFICATE OF SERVICE

        The undersigned, one of the attorneys of record for the Plaintiff Bethanne Thomas hereby
certifies that on April 30, 2018, foregoing document (First Amended Complaint at Law) was
served on the following attorneys via the District Court’s ECF filing system:

Michael Gorman
Anthony E. Zecchin
Cook County State's Attorney's Office
50 W. Washington St.
Suite 500
Chicago, IL 60602
(312) 603-4366
michael.gorman@cookcountyil.gov
anthony.zecchin@cookcountyil.gov


                                                   Signed:
                                                                  s/ Karen Munoz
                                                           One of the Attorneys for Plaintiff




                                               8
